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                                                               April 9, 2019


        VIA ECF

        Honorable Dora L. Irizarry
        United States District Judge
        United States District Court, Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                  Re:     Freeman, et al. v. HSBC Holdings plc, et al., 14-cv-6601 (DLI) (CLP)

        Dear Chief Judge Irizarry:

                Plaintiffs respectfully submit this letter in response to Defendants’ March 29, 2019 letter,
        ECF No. 217, which enclosed Judge Swain’s Memorandum and Order in O’Sullivan, et al. v.
        Deutsche Вaпk AG, et al., 17-cv-8709 (LTS) (OWO) (“O’Sullivan Decision” or “O’Sullivan op.”)
        (granting the defendants’ motions to dismiss in that case) as support for Defendants’ motions to
        dismiss the Second Amended Complaint (“SAC”) in this case.

                While the O’Sullivan plaintiffs may have “borrowed” parts of the SAC, Judge Swain’s
        Memorandum and Order and its recitation of the allegations in that case make clear that the factual
        allegations in the two cases diverge significantly, in part because the O’Sullivan plaintiffs appear
        to have lumped attacks by Al Qaeda, Hezbollah, and other terrorist groups together. Plaintiffs do
        not necessarily take issue with those parts of the O’Sullivan Decision that are dependent on the
        O’Sullivan court’s reading of such allegations in that complaint.

               However, the O’Sullivan court erred fundamentally in summarily rejecting Magistrate
        Judge Pollak’s careful and detailed Report and Recommendation in this case, 2018 WL 3616845
        (E.D.N.Y. July 27, 2018), in a one-sentence footnote:

                  The Court respectfully disagrees with [the Report and Recommendation], which
                  appears to assume that a conspiracy to provide material support for terrorism is
                  equivalent to a conspiracy whose object is to commit an act of international
                  terrorism, despite the fact that not all conduct that violates a material support statute
                  also satisfies § 2331(1)’s definition of an act of international terrorism. See Linde,
                  882 F.3d at 326.

        O’Sullivan op. at 20-21 n.14 (emphasis added). The O’Sullivan court misapplies the legal standard
        for both secondary liability under §2333(d) and primary liability under §2333(a).
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      1. O’Sullivan Fails to Correctly Apply the Correct Legal Framework to §2333(d)
         Conspiracy Claims.

            Judge Swain’s putative distinction conflates secondary liability’s scope under 18 U.S.C.
  §2333(d) with primary liability’s requirement of conduct that satisfies §2331(1)’s definition of
  “act of international terrorism.” Section 2333(d) does not require that a defendant’s aiding and
  abetting or agreement to join a conspiracy satisfy §2331(1)’s definitional requirements. Indeed,
  Congress eliminated that requirement, in part, to “provide civil litigants with the broadest possible
  basis . . . to seek relief against . . . [those who] have provided material support, directly or indirectly,
  to foreign organizations or persons that engage in terrorist activities against the United States.”
  Justice Against Supporters of Terrorism Act (“JASTA”), Pub. L. 114-222, §2(b), Sept. 28, 2016,
  130 Stat. 852.1

          O’Sullivan’s error on this point permeates the entire opinion. First, O’Sullivan requires the
  plaintiffs to plead that the defendants had the “common goal of committing an act of international
  terrorism.” O’Sullivan op. at 20 (emphasis added); id. (“a defendant must have conspired to
  commit an act of international terrorism.”) (emphasis added); id. at 21 (plaintiffs failed to plead
  “unlawful agreement to commit an act of international terrorism”) (emphasis added). The error of
  importing §2331(1)’s definition into §2333(d) liability is demonstrated by Halberstam v. Welch,
  705 F.2d 472 (D.C. Cir. 1983), which provides the “proper legal framework” for analyzing
  §2333(d) liability. JASTA, §2(a)(5). There, the court affirmed the secondary (aiding and abetting
  and conspiracy) liability of defendant Hamilton for the murder of Dr. Halberstam by Hamilton’s
  housemate, Welch, during a night-time burglary that Welch committed. There was no showing or
  requirement that Hamilton herself agreed or conspired “to commit” a murder, violence of any kind,
  or even a burglary—or even knew about any such violence. It was enough that she “agreed to
  undertake an illegal enterprise to acquire stolen property.” 705 F.2d at 487.2 Requiring allegations




  1
            Magistrate Judge Pollak correctly noted this distinction, “[t]he court in Linde further found that by enacting
  JASTA to allow for aiding and abetting liability under the ATA, Congress eliminated the need to prove that the aider
  and abettor’s own actions involved violence or danger and appeared to be for the purpose of coercion or intimidation
  of civilians and/or governments, as required by Section 2331. The court held that ‘under an aiding and abetting theory
  of ATA liability, plaintiffs would not have to prove that the bank’s own acts constitute international terrorism
  satisfying all the definitional requirements of §2331(1)[.]’” 2018 WL 3616845, at *18, citing Linde v. Arab Bank,
  PLC, 882 F.3d 314, 328 (2d Cir. 2018). Magistrate Judge Pollak concluded that the Second Circuit would apply the
  same reasoning to conspiracy claims. 2018 WL 3616845, at *20.
  2
           Magistrate Judge Pollak similarly noted, “In terms of the scope of the agreement, the HSBC and RBS
  defendants cite case law to argue that the ‘object’ of the conspiracy is limited to only those goals that a defendant
  ‘possessed the specific intent to commit.’ Accordingly, they argue that plaintiffs fail to allege that the defendants had
  ‘the specific intent to engage [in] an objective that included terrorist attacks.’ However, this is not a requirement for
  conspiracy according to Halberstam. Indeed, the Halberstam court made no such finding that Hamilton had any intent
  to engage in an objective that included killing. In that case, the killing was an overt act committed by her boyfriend
  Welch in furtherance of the conspiracy, but the object of the conspiracy was to ‘obtain stolen goods.’” 2018 WL
  3616845, at *24 (internal citations omitted).
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  that Defendants in this case agreed or conspired “to commit an act of international terrorism” is
  flatly inconsistent with the legal framework set forth in Halberstam.3

          Nothing in §2333(d)’s language contradicts Halberstam’s analysis (nor could it, given
  Congress’s specification of that analysis as the “proper legal framework”). That section makes
  liable anyone “who conspires with the person who committed such an act of international terrorism
  [committed, planned, or authorized by a Foreign Terrorist Organization],” not just one “who
  conspires to commit such an act,” as O’Sullivan misreads it. Moreover, Congress expressly defined
  “person” to “include corporations, companies, associations, firms, partnerships, societies, and joint
  stock companies, as well as individuals.” 18 U.S.C. §2333(d)(1) (incorporating 1 U.S.C. §1).4 It
  includes, therefore, associations like Iran’s terror proxies, the Foreign Terrorist Organization
  (“FTO”) Hezbollah and the Specially Designated Global Terrorist (“SDGT”) (and, as of next
  week, FTO (see infra at 7)) Islamic Revolutionary Guard Corps (“IRGC”) and its external division,
  the Islamic Revolutionary Guard Corps–Qods Force (“IRGC-QF”),5 which jointly committed,
  planned and authorized the attacks at issue by creating, funding, equipping, training, and directing
  Shia terror cells to, inter alia, use the signature Hezbollah-designed and Iranian-supplied
  Explosively Formed Penetrators (“EFPs”) in those attacks, and also committed, planned and
  authorized the January 20, 2007 Karbala attack. Section 2333(d) does not depart from the
  traditional conspiracy principle that a conspirator need not meet or deal directly with a conspirator,
  so long as they have agreed to the unlawful enterprise knowing of – in this case – the hub’s (Iran’s)
  intent (here, to fund terrorist activities). See Freeman, 2018 WL 3616845, at *26 (finding a hub-
  and-spoke conspiracy).

  3
            Magistrate Judge Pollak cited Callanan v. United States, 364 U.S. 587, 593-94 (1961), for the proposition
  that “the danger which a conspiracy generates is not confined to the substantive offense which is the immediate aim
  of the enterprise.” (Emphasis added.) She then referenced Halberstam: “As to the extent of liability, once the
  conspiracy has been formed, all its members are liable for injuries caused by acts pursuant to or in furtherance of the
  conspiracy. A conspirator need not participate actively in or benefit from the wrongful action in order to be found
  liable. He need not even have planned or known about the injurious action . . . so long as the purpose of the tortious
  action was to advance the overall object of the conspiracy. 705 F.2d at 481 (emphasis added).” 2018 WL 3616845, at
  *22. Magistrate Judge Pollak concluded that in this case, as a result, “so long as the purpose of the tortious action was
  to advance the overall object of the conspiracy, conspiracy-based liability will stand.” Id.
  4
            Instead of using §2331(3)’s definition of “person,” Congress expressly adopted the broader definition of 1
  U.S.C. §1, consistent with its declared purpose to expand the basis for civil liability of “person, entities, and foreign
  countries” for providing material support.” JASTA, §2(b) (emphasis added). Magistrate Judge Pollak endorsed this
  wider interpretation of “person” (“it seems clear that Congress intended a broader definition of ‘person’ beyond just
  the specific individual representative of the Foreign Terrorist Organization who, for instance, actually planted the EFP
  that injured or killed a plaintiff.”). 2018 WL 3616845, at *17. See also Miller, et al. v. Arab Bank, PLC, 18-cv-2192
  (BMC) (PK), 2019 WL 1115027, at *9 (E.D.N.Y. Mar. 11, 2019) (“a defendant may be liable under the ATA for
  aiding the organization behind the attacks, not only the individual ‘triggerman’ or suicide bomber. That is precisely
  why Congress broadly defined ‘person’ under the ATA to include entities, as well as individuals.”).
  5
           Magistrate Judge Pollak reasoned that not only FTOs like Hezbollah were subsumed within the definition of
  “person”—SDGTs like the IRGC and IRGC-QF affiliated with FTOs like Hezbollah were, as well (“By the same
  token, the public designation of an entity or organization as a SDGT can provide evidence of knowledge on the part
  of the defendant of the entity’s unlawful acts and demonstrate defendant’s knowing involvement in the conspiracy.
  Thus, the Court finds that not only would FTO Hezbollah, or FTO Kata’ib Hezbollah, fall within the definition of a
  ‘person who committed an act of terrorism,’ but a Hezbollah-affiliated entity would also fall within the definition of
  persons or entities that Congress was concerned with in enacting JASTA.”). 2018 WL 3616845, at *17.
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          Second, O’Sullivan makes a related mistake in requiring that plaintiffs plead that “the
  Defendants were ‘generally aware’ that they had a ‘role’ in the attacks that killed or injured them.
  O’Sullivan op. at 22 (citing Siegel v. HSBC Bank USA, N.A., 2018 WL 3611967, at *4-5 (S.D.N.Y.
  July 27, 2018). Such a requirement is again inconsistent with the legal framework set forth in
  Halberstam, which the cited case, Siegel, never even mentions. Halberstam found that under an
  aiding and abetting theory of liability:

          It was not necessary that Hamilton [the burglar/murderer’s housemate] knew
          specifically that Welch [the burglar/murderer] was committing burglaries. Rather,
          when she assisted him, it was enough that she knew he was involved in some type
          of personal property crime at night—whether as a fence, burglar, or armed robber
          made no difference—because violence and killing is a foreseeable risk in any of
          these enterprises.

  705 F.2d at 488. Hamilton was not aware that she played any role in burglary, let alone murder,
  yet she was still held civilly liable for the murder.

          So, too, in this case, Defendants did not have to be aware they were playing any “role in
  the attacks” that injured Plaintiffs, as O’Sullivan puts it. It was sufficient that they were aware –
  even if only “generally,” as Halberstam found sufficient – that they were playing a role in
  concealing and disguising funds that Iran would use for the illicit purposes of terrorism or
  proliferation rather than for the lawful purposes for which the transparent U-Turn regulations were
  available. As the U.S Treasury Department put it:

          Iran’s access to the international financial system enables the Iranian regime to
          facilitate its support for terrorism and proliferation. The Iranian regime disguises
          its involvement in these illicit activities through the use of a wide array of deceptive
          techniques, specifically designed to avoid suspicion and evade detection by
          responsible financial institutions and companies. Iran also is finding ways to adapt
          to existing sanctions, including by turning to non-designated Iranian banks to
          handle illicit transactions.

  SAC ¶172 (emphasis added).

      2. O’Sullivan Fails to Apply the Correct Legal Framework to §2333(a) Conspiracy
         Claims.

          O’Sullivan not only incorrectly grafts the definitional elements of §2331 onto claims
  predicated on §2333(d), it also misapplies the legal standard applicable to claims predicated on
  §2333(a) where §2331 is relevant. While O’Sullivan is correct that a §2333(a) conspiracy must
  have, as an objective, the commission of an act of international terrorism, the decision incorrectly
  assumes that each conspirator must itself share or be motivated by that objective. Plaintiffs must
  only allege that Defendants were “aware of a high probability of some of the conspiracy’s unlawful
  aims.” United States v. Garcia, 509 F. App’x 40, 42 (2d Cir. 2013) (first emphasis added). While
  “not all conduct that violates a material support statute also satisfies § 2331(1)’s definition of an
  act of international terrorism,” O’Sullivan op. at 20-21 n.14, Defendants’ alleged conduct does
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  support the inference that they were aware of Iran’s goals for the conspiracy, including the
  commission of acts of international terrorism.

         O’Sullivan also errs in deciding as a matter of law that Defendants’ prolonged actions in
  so doing were not dangerous to human life within the terms of §2331(1), citing Linde v. Arab Bank,
  PLC, 882 F.3d 314, 326 (2d Cir. 2018). O’Sullivan op. at *16-18. But Linde carefully limited its
  holding on this issue:

           We conclude only that providing routine financial services to members and
           associates of terrorist organizations is not so akin to providing a loaded gun to a
           child as to excuse the charging error here and compel a finding that as a matter of
           law, the services were violent or life-endangering acts that appeared intended to
           intimidate or coerce civilians or to influence or affect governments.

  882 F.3d at 327 (emphasis added).

           Here, Plaintiffs plausibly allege that the Defendant banks’ alteration and falsification of
  transactional documents using “special procedures” devised in collusion with Iranian banks is the
  antithesis of “routine banking.” That conduct, instead, raises precisely the opposite inference: The
  banks knew that their counterparts intended to use the concealed and disguised transactions for
  illicit purposes, identified by the U.S. Treasury as support for terrorism and proliferation, and the
  procedures were therefore dangerous to human life. Plaintiffs maintain that Defendants cannot
  credibly contend that such procedures are “routine” banking;6 at most, any dispute would be for
  the jury to determine, as Linde expressly held.

          In fact, in yet another enforcement action taken against Defendant Standard Chartered
  Bank (“SCB”) today, the United States set out the inherent danger to human life in violating U.S.
  sanctions against Iran. The criminal information explains that SCB “willfully and knowingly
  conspired” to violate sanctions which “arose in response to repeated support by [Iran and other
  sanctioned nations] for international terror against the United States and its allies, and, with regard
  to Iran, the proliferation of weapons of mass destruction.” United States v. Standard Chartered
  Bank, No. 12-cr-262 (JEB), ¶ 9 (D.D.C. April 9, 2019), annexed hereto as Exhibit A.

          O’Sullivan therefore turned Linde on its head, deciding at the pleading stage – as a matter
  of law – precisely what the Court of Appeals instructed is a matter of fact for the jury to determine.
  For the O’Sullivan court itself to have decided that such “special procedures” do not show general
  awareness or “involv[e] . . . acts dangerous to human life,” §2331(1), it had to find not only that
  no reasonable jury could reach the opposite conclusions, but that Magistrate Judge Pollak’s


  6
            Magistrate Judge Pollak noted, “there are serious questions raised as to whether the conduct of the defendants
  in this case in working with the Iranian entities to develop sophisticated means to evade detection and avoid U.S.
  sanctions could be considered ‘routine banking services’… each bank is alleged to have engaged in multiple
  transactions over a period of years, involving manipulative and deceptive methods designed to conceal the identity of
  the Iranian participants.” 2018 WL 3616845, at *27.
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  opposite conclusions were unreasonable.7 Linde’s directive is, on the contrary, that this decision
  must be left to the jury.

      3. O’Sullivan’s Analysis of Proximate Cause Rests on Erroneous Assumptions

          The foregoing errors in O’Sullivan carried over to its analysis of proximate cause. Having
  erroneously concluded that conspiracy liability required an agreement “to commit an act of
  international terrorism,” the court never applied Halberstam’s directive that all conspirators “are
  liable for injuries caused by acts pursuant to or in furtherance of the conspiracy.” 705 F.2d at 481.
  Indeed, its entire discussion of proximate cause appears as part “A” of “Primary Liability Claims
  Under 18 U.S.C. §2333(a),” and not under its discussion of §2333(d) liability.8

          Furthermore, O’Sullivan’s proximate cause discussion is predicated on assumptions that
  do not apply in this case. First, it asserts that the O’Sullivan complaint “does not even allege that
  the IRGC-QF, Hezbollah, and Al-Qaeda carried out the attacks that killed or injured Plaintiffs.”
  O’Sullivan op. at *12. In this case, the SAC abundantly alleges that the IRGC and Hezbollah jointly
  committed, planned and authorized the attacks as noted above, and it plausibly ties them to the
  attacks by the use of the signature Hezbollah-designed and Iranian-supplied EFPs in the vast
  majority of the attacks at issue.

           Second, O’Sullivan relies on the fact that Congress made no findings concerning State
  Sponsors of Terrorism similar to those it made concerning FTOs, meaning it was implausible to
  infer that Defendants’ financial services proximately caused terrorism. Id. at *14. But here the U.S.
  Treasury expressly found that Iran used exactly the same “deceptive techniques” as those alleged
  in the SAC (based on Defendants’ admissions) for accessing the international financial system “to
  facilitate its support for terrorism and proliferation.” Supra at 4. Given Defendants’ deliberate
  bypass of the lawful means of accessing the system for legitimate agencies and operations (the U-
  turn) in favor of “special procedures,” any reliance on the proposition that Iran has “many
  legitimate agencies and operations” is misplaced. A jury could reasonably infer that Iran only used
  the special procedures in order to clandestinely access funding for its illicit activities, as the U.S.
  Treasury found, and that Defendants knew it.


  7
           Magistrate Judge Pollak quoted Linde’s above-cited language that it was for a jury to determine whether the
  provision of material support constituted an act dangerous to human life, and stated that “[a]s the Second Circuit in
  Linde noted, it is an issue of fact, not a question of law, as to whether the evidence ultimately presented to the jury
  was sufficient to establish that the Bank was ‘generally aware’ that by processing these transfers of funds in the
  secretive, roundabout way that it did, it was playing a role in violent or life-endangering acts with the apparent intent
  to intimidate or coerce civilians or to affect a government.” 2018 WL 3616845, at *23 n.42. Magistrate Judge Pollak
  noted that the analysis for conspiracy claims would be the same. Id.
  8
           O’Sullivan also never discussed the proper causation standard for aiding and abetting liability under
  §2333(d). Halberstam held that the first requirement for aiding and abetting is that “the party whom the defendant
  aids must perform a wrongful act that causes the injury.” Halberstam, 705 F.2d at 477 (emphasis added). If the aided
  party (here, Iran and its terror proxies) proximately caused the injury, the question is whether the aider and abettor
  substantially assisted the principal violation, not whether the aider and abettor itself caused the injury. O’Sullivan
  never applied the multi-factor standard specified by Halberstam for measuring substantial assistance.
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          Any conceivable doubt on this score has been put to rest by the announcement on April 8,
  2019 that the State Department would be designating the IRGC as an FTO, effective April 15,
  2019.9 The State Department specifically cited IRGC’s attacks on the Plaintiffs and other U.S.
  service members in Iraq as grounds for the designation: “The Iranian regime is responsible for the
  deaths of at least 603 American service members in Iraq since 2003,” and the IRGC has provided
  “financial and other material support, training, technology transfer, advanced conventional
  weapons, guidance, or direction to a broad range of terrorist organizations, including . . . Kata’ib
  Hizballah in Iraq . . . .”10 The planned designation conclusively establishes that the IRGC and the
  entities it controls are outside any category of “legitimate agencies and operations” on which
  O’Sullivan’s proximate cause analysis rested and that these IRGC entities have been since at least
  2003. Setting aside the IRGC’s direct role in injuring Plaintiffs herein, the SAC specifically
  identifies Defendants SCB, HSBC, Credit Suisse, Commerzbank, Royal Bank of Scotland (ABN
  Amro) and Bank Saderat as having engaged directly with NIOC (an entity the U.S. government
  found to be controlled by the IRGC during the relevant period), SAC ¶¶ 52, 158, 400, 404, 516 &
  n.28, 624, in the conspiracy to provide Iran – as the U.S Treasury Department put it – “access to
  the international financial system enabl[ing] the Iranian regime to facilitate its support for terrorism
  and proliferation.”

          Today’s enforcement action and yesterday’s announced designation of the IRGC as a
  Foreign Terrorist Organization serve to reinforce what Magistrate Judge Pollak’s carefully
  considered Report and Recommendation already determined – that the SAC sets forth plausible
  claims that should, as Linde urges, be decided by a jury.


                                                      Respectfully submitted,


                                                      /s/ Gary M. Osen


  cc: All Counsel via ECF




  9
           See Fact Sheet, U.S. State Dep’t, “Designation of the Islamic Revolutionary Guard Corps” (April 8, 2019),
  available at https://www.state.gov/r/pa/prs/ps/2019/04/290963.htm.
  10
          Id.
